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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

SERGIO VALDIVIESO,                        §
    Plaintiff                             §
                                          §        C.A. No. 4:21-02214
                                          §
v.                                        § (previously C.A. No. 4:12-cv-01018)
                                          §
SOUTHERN CAT, INC., et al.                §
    Defendants                            §

                  PLAINTIFF’S SECOND AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff, SERGIO VALDIVIESO, complaining of

SOUTHERN CAT, INC. (herineafter sometimes called “SOUTHERN CAT”),

EMERGENCY RESPONSE GROUP, LLC. (hereinafter sometimes called “ERG”),

SWS      ENVIRONMENTAL          SERVICES      f/k/a   EAGLE-SWS,       INC.    a/k/a

PROGRESSIVE ENVIRONMENTAL SERVICES, INC. (hereinafter sometimes

called “SWS”) and DISASTER RESPONSE GROUP, LLC, (hereinafter sometimes

called “DRG”), Marine Spill Response Corp. (hereinafter sometimes called

“MSRC”) and hereinafter sometimes referred to collectively as “Defendants”, and

for cause of action would respectfully show unto this Honorable Court the following:
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                                       I
                                    PARTIES

      1.     Plaintiff, SERGIO VALDIVIESO is a resident of Bradenton, FL

34209.

      2.     Defendant, SOUTHERN CAT, INC. is a foreign for-profit

corporation doing business in the State of Texas and Louisiana, and within the

jurisdiction of this Honorable Court. Defendant has made an appearance.

      3.     Defendant, EMERGENCY RESPONSE GROUP, LLC. is a foreign

for-profit corporation doing business in the State of Texas and Louisiana, and within

the jurisdiction of this Honorable Court. Defendant has made an appearance in this

matter.

      4.     Defendant, SWS ENVIRONMENTAL SERVICES F/K/A EAGLE-

SWS, INC. A/K/A PROGRESSIVE ENVIRONMENTAL SERVICES, INC. is

a Florida corporation and doing business in the State of Texas and Louisiana, and

within the jurisdiction of this Honorable Court. Defendant has already made an

appearance in this matter.

      5.     Defendant, DISASTER RESPONSE GROUP, LLC is a Florida

Corporation and doing business in the State of Texas and Louisiana, and within the

jurisdiction of this Honorable Court. Defendant can be served with process by

serving its Registered Agent Alfred Ted Ruemke, 406 N. Thompson, Suite 201,

Conroe, Texas 77301.

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        6.       MARINE SPILL RESPONSE CORP. (“MSRC”) is a foreign for-

profit corporation doing business in the State of Texas, and within the jurisdiction

of this Honorable Court. Defendant can be served with process by serving its

Registered Agent CT Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas

75201-3136.

        7.       Plaintiff, Sergio Valdivieso, seeks to remove previously identified

Defendants BP, PLC, BP Products North America, Inc., BP America, Inc., and BP

Products North America Inc.1

        8.       Plaintiff, Sergio Valdivieso, seeks to remove previously identified

Defendant Eastern Research Group, Inc.2

                                            II
                                 JURISDICTION AND VENUE

        9.       At all times pertinent hereto, Plaintiff Sergio Valdivieso was employed

by Defendants as a Jones Act seaman and a member of the crew aboard the twenty-

four (24) foot fishing vessel on the date of incident in question.

        10.      As provided by 46 U.S.C. § 30104 et seq., Defendants individually

and/or collectively employed Plaintiff as a Jones Act seaman and/or were the




1
  BP was dismissed from this matter through Order & Reason Signed by Judge Barbier, MDL 2179, Section J (ref.
doc. 27156).
2
  Eastern Research Group was removed from this matter on March 11, 2013, as improperly named as a party to this
suit. Order Signed by Judge Barbier, MDL No. 2179, Section J (ref. doc. 8861)


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owners, operators, managers and/or owner pro hac vice of the Vessel.

      11.      Venue is proper in this Court because; several of the Defendants reside

within the Southern District of Texas.

                                     III
                            FACTUAL BACKGROUND

      12.      At all times pertinent hereto, the Vessel, a twenty-four-foot fiberglass

fishing boat (hereinto sometimes “the Vessel”), was a vessel operated or under the

control of Defendants and chartered by Defendant SOUTHERN CAT, ERG, SWS,

DRG and/or MSRC and is a vessel within the jurisdiction of the United States,

including the United States Coast Guard and relevant United States federal

regulations.

                                      IV
                               JONES ACT SEAMAN

      13.      At the times pertinent hereto, Plaintiff, SERGIO VALDIVIESO, was

employed by Defendant SOUTHERN CAT, ERG, SWS, DRG, and/or MSRC, as a

Jones Act seaman and member of the crew of the subject Vessel, as provided in 46

USC § 30104, et seq., was assigned by Defendants to the Vessel, and was acting

within the course and scope of his employment as a seaman aboard that Vessel at all

times relevant to the events forming the basis of this suit.




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                                     V
                           JONES ACT NEGLIGENCE
                                  COUNT I

      14.    On or about June 9, 2010, as Plaintiff was performing his assigned

duties as a seaman aboard the Vessel, while the Vessel was assisting in the cleanup

of the BP Oil Spill and operating in or near Barataria Bay, located offshore Grand

Isle, Louisiana, and upon information and belief within 100 yards of land, Plaintiff

sustained serious and disabling personal injuries, including to Plaintiff’s neck,

shoulder, arm, back, and other parts of his body, while attempting to lift, position or

reposition oil-absorbing boom. Said injuries were caused, in whole or in part, by the

negligence of the Defendants, their agents, servants and/or employees. In particular,

SOUTHERN CAT, ERG, SWS, DRG, and/or MSRC failed to provide a safe place

to work; failed to provide proper equipment, supervision, and training; failed to

inspect the Vessel, and its appurtenances and equipment, including the lack of a

proper crane required to hoist, position, or lay the boom; and failed to warn its

employees, including Plaintiff, of the dangers associated with their work

assignments on that Vessel. Plaintiff was injured while working on the Vessel laying

boom by hand, since the Vessel was not equipped with the proper crane or other

mechanical hoisting equipment for the job. Plaintiff was required to hoist, hold, and

pull boom from the main deck of the boat, work which was so heavy that it ripped

tissue in his shoulder and/or neck and caused various other injuries.



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                                    VI
                              UNSEAWORTHINESS
                                  COUNT II

      15.      Plaintiff’s injuries were legally caused, in whole or in part, by the

unseaworthiness of the Vessel, which at all relevant times was operated, controlled

and/or chartered by Defendants. The Vessel was not equipped to properly and safely

move and lay boom. The Vessel also was unseaworthy because the master and crew

were not properly trained for the task at hand, nor was Plaintiff properly supervised

or instructed in the boom-repositioning operation being conducted when Plaintiff

was injured.

                                   VII
                           MAINTENANCE AND CURE
                                 COUNT III

      16.      Plaintiff would show that on the above-mentioned and following dates,

he was injured while acting as a seaman and employee of Defendant, SOUTHERN

CAT, ERG, SWS DRG, and/or MSRC in the service of the Vessel. As a result,

SOUTHERN CAT, ERG, SWS, DRG, and/or MSRC as his Jones Act employer(s)

had, and continues to have, a non-delegable duty to provide Plaintiff with all proper

and timely maintenance and cure benefits. Plaintiff would show that: he has required

medical treatment as a result of the subject accident and injuries; he has not reached

maximum medical improvement; and his seaman-employer’s duties to provide

maintenance and cure benefits continue. SOUTHERN CAT, ERG, SWS, DRG,



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and/or MSRC has denied such payment and/or has paid benefits in an insufficient

amount. As a result of said Defendants’ failure to pay and/or delay in timely

providing and/or paying the proper amount of maintenance and cure benefits,

Plaintiff has suffered further injuries and damages, for which he now sues.

      17.   In addition, Plaintiff would show that, after the injuries he received, he

was owed the duty of maintenance and cure by SOUTHERN CAT, ERG, SWS,

DRG, and/or MSRC, his Jones Act employer(s); that such duty began on the Vessel

and has continued from day to day thereafter; and that said maritime employer failed

to provide proper maintenance and cure benefits to Plaintiff. Plaintiff asserts that

Defendants SOUTHERN CAT, ERG, SWS, DRG, and/or MSRC have been callous,

willful, wanton, or otherwise tortious, for which punitive damages are recoverable,

in breaching this duty owed to Plaintiff. Defendants SOUTHERN CAT, ERG, SWS,

DRG, and/or MSRC also is liable for all reasonable and necessary attorneys’ fees

and costs incurred on Plaintiff’s behalf in seeking to secure proper maintenance and

cure benefits from said Defendants.

                         VIII
 PUNITIVE DAMAGES, FROM DEFENDANTS’ GROSS NEGLIGENCE

      18.   Plaintiff also sues for punitive and exemplary damages, due to the gross

negligence of Defendants.




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                                       IX
                                    DAMAGES

      19.    By reason of the occurrences made the basis of this action, including

conduct on the part of all Defendants, Plaintiff sustained disabling bodily injuries.

Plaintiff has suffered physical pain and mental anguish and needs additional medical

treatment.

      20.    As a result of the foregoing injuries, Plaintiff has suffered a loss of

wages in the past and a loss of capacity to work and earn money in the future and

his earning capacity may have been impaired permanently.

      21.    Additionally, Plaintiff has incurred reasonable and necessary medical

expenses in the past and, in reasonable probability, will incur reasonable medical

expenses in the future.

      22.    As a result of the injuries sustained in the occurrence of June 9, 2010,

and the continuing days thereafter, Plaintiff has suffered in the past and, in

reasonable medical probability, will continue to suffer in the future.

      23.    Plaintiff is physically impaired as a result of the injuries he sustained

on or about June 9, 2010, as a consequence, he has lost the ability to perform

household services.

                                     X
                              OTHER PROVISIONS




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      24.   Plaintiff did not cause or contribute to the injuries asserted or damages

claimed herein.

      25.   Pleading further, in the alternative, if it be shown that Plaintiff was

suffering from some pre-existing injury, disease and/or condition, then such was

aggravated and/or exacerbated as a result of the occurrences made the basis of this

lawsuit.

      WHEREFORE, Plaintiff requests that Defendants be summoned to appear

and answer, and that, on final trial, Plaintiff have Judgment against Defendants

SOUTHERN CAT, INC., EMERGENCY RESPONSE GROUP, LLC., SWS

ENVIRONMENTAL SERVICES f/k/a EAGLE-SWS, INC. a/k/a PROGRESSIVE

ENVIRONMENTAL SERVICES, INC., DISASTER RESPONSE GROUP, LLC,

and MARINE SPILL RESPONSE CORP., for:

      1.    All damages permitted at law;

      2.    Reasonable attorneys’ fees;

      3.    Pre-judgment interest;

      4.    Post-judgment interest;

      5.    Costs of suit;

      6.    Punitive damages; and

      7.    Such other and further relief, in admiralty, at law and in equity, to which
            Plaintiff may be justly entitled.




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                                          Respectfully submitted,
                                          HERD LAW FIRM, PLLC
                                  By:     /s/ Charles Herd
                                          CHARLES F. HERD, JR
                                          TEX. BAR NO. 09504480 | FED ID 2793
                                          19500 Tomball Pkwy | Suite 250
                                          Houston, Texas 77070
                                          Charles.Herd@HerdLawFirm.com
                                          T: 713-955-3699 | F: 281-462-5180

                                          ATTORNEYS FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 27th day of August 2021, a true and correct copy of the
above and foregoing document has been sent to the following counsel of records:




                                                 _______________________________
                                                 Charles F. Herd, Jr.




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